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                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                             VICTORIA DIVISION
____________________________________________
                                       )
In re:                                  )       Chapter 11
                                       )
LINN ENERGY, LLC, et al.,¹             )        Case No. 16-60040 (DRJ)
                                       )
                  Debtors.             )       (Jointly Administered)
 _________________________________ __ )

    CLAIMANT DULCIE’S RESPONSE IN OPPOSITION TO DEBTORS’ SEVENTH
                         OMNIBUS OBJECTION
        TO CERTAIN PROOFS OF CLAIM (EQUITY INTEREST CLAIMS)


         CLAIMANT, DIANE DULCIE (“CLAIMANT”), by and through her undersigned

attorney, hereby files her Response in Opposition to the Seventh Omnibus Objection of the

above-captioned debtors and debtors in possession (collectively, the “Debtors”) and respectfully

asks this Court to overrule Debtor’s objection and enter an order (this “Order”): (a) protecting

the CLAIMANT’s existing claims for monetary damages from the Debtors, (b) preventing any

further attempts by the Debtors to expunge the Equity Interest Claims submitted by CLAIMANT

as identified on Schedule 1 attached hereto; and (c) granting any other related relief as the Court

deems just and proper.




__________________________
¹     The Debtors in these chapter 11 cases and the last four digits of each Debtor’s federal tax identification number
are as follows: Linn Energy, LLC (7591); Berry Petroleum Company, LLC (9387); LinnCo, LLC (6623); Linn
Acquisition Company, LLC (4791); Linn Energy Finance Corp. (5453); Linn Energy Holdings, LLC (6517);
Linn Exploration & Production Michigan LLC (0738); Linn Exploration Midcontinent, LLC (3143); Linn
Midstream, LLC (9707); Linn Midwest Energy LLC (1712); Linn Operating, Inc. (3530); Mid-Continent I,
LLC (1812); Mid-Continent II, LLC (1869); Mid-Continent Holdings I, LLC (1686); Mid-Continent Holdings
II, LLC (7129). The Debtors’ principal offices are located at JPMorgan Chase Tower, 600 Travis Street,
Houston, Texas 77002.
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The above-captioned CLAIMANT respectfully states as follows in support of this Response in

Opposition (“Response”) to Debtor’s Seventh Omnibus Objection:


                                        Relief Requested

        1. The CLAIMANT seeks entry of an order, substantially in the form attached hereto as

Exhibit “A” (the “Order”) protecting the CLAIMANT’s claims in accordance with 11 U.S.C. §

501(a) and preventing expungement of CLAIMANT’s claims identified on Schedule 1.

                                     Equity Interest Claims

        2. As set forth in the in Debtors’ Seventh Omnibus Objection, the Debtors admit that

CLAIMANT has an Equity Interest Claim as filed by CLAIMANT on account of equity interests

held by CLAIMANT in the Debtors.

        3. This claim is based on ownership of common stock of the Debtors.

        4. This claim is based on the Debtors’ actions, including administrative malfeasance and

mismanagement, which led to this Bankruptcy proceeding and CLAIMANT thereby suffering

damages resulting in a claim against the Debtors.

        5. Holders of common stock of the Debtors have valid claims against the Debtors or their

estates. See 11 U.S.C. § 501(a) (“An equity security holder may file a proof of interest”). Certain

holders of common stock filed proofs of claim on Debtors asserting claims on account of such

equity interests and the failure to appropriately include such claims would therefore preclude

CLAIMANTS to the right of recoveries on account of such “claims” to which the holders are

entitled.

         6. Elimination of CLAIMANT’s Equity Interest Claims as identified in Schedule 1

attached will prejudice the CLAIMANT who is holding an interest in the Debtors.




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       7. Accordingly, the CLAIMANT respectfully requests that the Court enter the Order

protecting the CLAIMANT’s claims and preventing expungement and allow such Equity Interest

Claims as identified on Schedule 1 to the Order.

       8. The CLAIMANT’s claims equate with a proof of interest filed with the Court and such

holder of an Equity Interest Claim should be allowed to file such claims in the form of a claim or

proof of interest, even though “it shall not be necessary (emphasis added) for a creditor or equity

security holder to file a proof of claim or interest except as provided in Rule 3003(c)(2).” ²

       9. By allowing the Debtors to arbitrarily expunge and disallow the CLAIMANT’s claims,

it would forever affect the rights or recovery of any such holder under a chapter 11 plan in these

chapter 11 cases, if any, with respect to any such equity interests.

__________________________
²      Rule 3003. Filing Proof of Claim or Equity Security Interest in Chapter 9 Municipality or Chapter 11
       Reorganization Cases
       (a) Applicability of Rule. This rule applies in chapter 9 and 11 cases.
       (b) Schedule of Liabilities and List of Equity Security Holders.
           (1) Schedule of Liabilities. The schedule of liabilities filed pursuant to §521(l) of the Code shall
       constitute prima facie evidence of the validity and amount of the claims of creditors, unless they are
       scheduled as disputed, contingent, or unliquidated. It shall not be necessary for a creditor or equity
       security holder to file a proof of claim or interest except as provided in subdivision (c)(2) of this rule.
           (2) List of Equity Security Holders. The list of equity security holders filed pursuant to Rule 1007(a)(3)
       shall constitute prima facie evidence of the validity and amount of the equity security interests and it shall
       not be necessary for the holders of such interests to file a proof of interest.
       (c) Filing Proof of Claim.
           (1) Who May File. Any creditor or indenture trustee may file a proof of claim within the time prescribed
       by subdivision (c)(3) of this rule.
           (2) Who Must File. Any creditor or equity security holder whose claim or interest is not scheduled or
       scheduled as disputed, contingent, or unliquidated shall file a proof of claim or interest within the time
       prescribed by subdivision (c)(3) of this rule; any creditor who fails to do so shall not be treated as a creditor
       with respect to such claim for the purposes of voting and distribution.
           (3) Time for Filing. The court shall fix and for cause shown may extend the time within which proofs of
       claim or interest may be filed. Notwithstanding the expiration of such time, a proof of claim may be filed to
       the extent and under the conditions stated in Rule 3002(c)(2), (c)(3), (c)(4), and (c)(6).
           (4) Effect of Filing Claim or Interest. A proof of claim or interest executed and filed in accordance with
       this subdivision shall supersede any scheduling of that claim or interest pursuant to §521(a)(1) of the Code.
           (5) Filing by Indenture Trustee. An indenture trustee may file a claim on behalf of all known or
       unknown holders of securities issued pursuant to the trust instrument under which it is trustee.
       (d) Proof of Right to Record Status. For the purposes of Rules 3017, 3018 and 3021 and for receiving
       notices, an entity who is not the record holder of a security may file a statement setting forth facts which
       entitle that entity to be treated as the record holder. An objection to the statement may be filed by any party
       in interest.
       Notes




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       (As amended Mar. 30, 1987, eff. Aug. 1, 1987; Apr. 30, 1991, eff. Aug. 1, 1991; Apr. 23, 2008, eff. Dec. 1,
       2008.)

                                          Reservation of Rights

       10. This Response is limited to the grounds stated herein. Accordingly, it is without

prejudice to the rights of the CLAIMANT to object to any further OBJECTIONS the Debtors

may file on any grounds whatsoever, and the CLAIMANT expressly reserves all further

substantive or procedural objections they may have. Nothing contained herein or any actions

taken pursuant to such relief is intended or should be construed as: (a) a request or authorization

to assume any prepetition agreement, contract, or lease pursuant to section 365 of the Bankruptcy

Code; or (b) a waiver of the CLAIMANT’s rights under the Bankruptcy Code or any other

applicable law.

                                                    Notice

       11. The CLAIMANT will provide notice of this Motion to: (a) Co-Counsel to the Debtors

and Debtors in Possession, as identified hereunder to the CLAIMANT in Debtors’ Seventh

Ominbus Objection. The CLAIMANT submits that, in light of the nature of the relief requested,

no other or further notice need be given.

       WHEREFORE, based on the foregoing, the CLAIMANT respectfully requests entry of

the Order, substantially in the form attached hereto as Exhibit A, granting the relief requested

herein, overruling Debtors’ Seventh Ominbus Objection, and granting such other relief as is just

and proper.


Dated: February 16, 2017                           WICKER, SMITH, O'HARA, MCCOY & FORD,
                                                   P.A.
                                                   Attorney for Claimant, Diane Dulcie
                                                   515 E. Las Olas Boulevard
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                                            By: ___/s/ Jordan A. Dulcie_____
                                            Jordan A. Dulcie, (admitted pro hac vice)
                                            Florida Bar No. 118635
                                            jdulcie@wickersmith.com


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed with the
Clerk of Court using the CM/ECF system on February __16th_, 2017 and the foregoing
document is being served this day on all counsel or parties of record on the Service List below,
either via transmission of Notices of Electronic Filing generated by CM/ECF or in some other
authorized manner for those counsel or parties who are not authorized to receive Notices of
Electronic Filing.

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By: ___/s/ Jordan A. Dulcie_____
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